18-22449-rdd Doc 97-2 Filed 06/25/20 Entered 06/25/20 20:03:54 Affidavit of
           Edward F. Miller in Support of Objection of Debtor Pg 1 of 4
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           Edward F. Miller in Support of Objection of Debtor Pg 4 of 4
